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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------                   x
                                                       :
UNITED STATES OF AMERICA                               :
                                                       :    CONSENT PRELIMINARY
                - v. -                                 :    ORDER OF FORFEITURE/
                                                       :    MONEY JUDGMENT
ANDREJS PAVLOVS,                                       :
                                                       :    S13 16 Cr. 692 (JMF)
                         Defendant.                    :
                                                       :
                                                       :
------------------------------------                   x
                WHEREAS, on or about May 24, 2018, ANDREJS PAVLOVS, (the “Defendant”)

was charged in a four-count Superseding Information, S13 16 Cr. 692 (JMF) (the “Information”)

with two counts of conspiracy to commit wire fraud and bank fraud, in violation of Title 18, United

States Code, 1349 (Count One and Count Three); one count of conspiracy to commit money

laundering, in violation of Title 18, United States Code, Section 1956(h) (Count Two); and one

count of aggravated identity theft, in violation of Title 18, United States Code, Section 1028A

(Count Four).

                WHEREAS, the Information included a forfeiture allegation as to Counts One

through Three seeking forfeiture to the United States, pursuant to Title 18, United States Code,

Sections 981(a)(1), 982(a)(1), 982(a)(2) and 2461(c) and Title 31, United States Code 5317(c)(1),

of any and all property, real or personal involved in the offenses, or any property traceable, or

which constitutes or is derived from proceeds obtained directly or indirectly as a result of the

commission of the offenses, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of the offenses;

                WHEREAS, on or about May 24, 2018, the Defendant pled guilty to Counts One

through Four of the Information, pursuant to a plea agreement with the Government, wherein the
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Defendant admitted the forfeiture allegation with respect to Counts One through Three of the

Information and agreed to forfeit to the United States pursuant to Title 18, United States Code,

Section Sections 981(a)(1), 982(a)(1), 982(a)(2) and 2461(c) and Title 31, United States Code

5317(c)(1): of any and all property, real or personal involved in the offenses, or any property

traceable, or which constitutes or is derived from proceeds obtained directly or indirectly as a result

of the commission of the offenses, including but not limited to a sum of money in United States

currency representing the amount of proceeds traceable to the commission of the offenses;

        WHEREAS, the Defendant consents to the entry of a money judgment in the amount of

$377,405 in United States currency, representing the amount of proceeds traceable to the offenses

charged in Counts One and Three of the Information that the Defendant personally obtained and

property involved in Count Two of the Information; and

               WHEREAS, as a result of the acts and/or omissions of the Defendant, the proceeds

traceable to the offenses charged in Counts One and Three of the Information that the Defendant

personally obtained and property involved in Count Two of the Information cannot be located

upon the exercise of due diligence;

               IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorney Thane Rehn of counsel, and the Defendant, and his counsel, Leonardo M. Aldridge, Esq.,

that:

               1.      As a result of the offenses charged in Counts One through Three of the

Information, to which the Defendant pled guilty, a money judgment in the amount of $377,405 in

United States currency (the “Money Judgment”), representing the amount of proceeds traceable to


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the offenses charged in Counts One and Three of the Information that the Defendant personally

obtained and property involved in Count Two of the Information, shall be entered against the

Defendant.

               2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, ANDREJS

PAVLOVS and shall be deemed part of the sentence of the Defendant, and shall be included in the

judgment of conviction therewith.

               3.      All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable to the “United States Marshals Service” and

delivered by mail to the United States Attorney’s Office, Southern District of New York, Attn:

Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s Plaza, New

York, New York 10007 and shall indicate the Defendant’s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure,

upon entry of this Consent Preliminary Order of Forfeiture/Money Judgment, the United States

Attorney’s Office is authorized to conduct any discovery needed to identify, locate or dispose of




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forfeitable property, including depositions, interrogatories, requests for production of documents

and the issuance of subpoenas.

               7.     This Court shall retain jurisdiction to enforce this Consent Preliminary

Order of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2(e) of

the Federal Rules of Criminal Procedure.

               8.     The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief, Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.




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               9.     The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an

original but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

By:                                                                  10/14/2020
       Thane Rehn                                                   DATE
       Assistant United States Attorney
       One St. Andrew’s Plaza
       New York, NY 10007
       212-637-2354


ANDREJS PAVLOVS

By:
       ANDREJS PAVLOVS                                              DATE


By:
       Leonardo M. Aldridge, Esq.                                   DATE
       66 Willoughby Street
       Brooklyn, NY 11201
       787-370-9024

SO ORDERED:



HONORABLE JESSE MATTHEW FURMAN                                      DATE
UNITED STATES DISTRICT JUDGE




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                                           10/15/2020
